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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS


                                              )
SOUTHWEST AIRLINES PILOTS                     )
ASSOCIATION,                                  )
                                              )
                          Plaintiff,          )
                                              )
      v.                                      ) Civil Action No.:____________
                                              )
SOUTHWEST AIRLINES CO.                        )
                                              )
                          Defendant.          )
                                              )

                                       COMPLAINT

      Southwest Airlines Pilots Association (“SWAPA” or “the Union”), for its

complaint against defendant Southwest Airlines Co. (“Southwest” or “Company”),

states as follows:

      1.     This is an action for injunctive relief, declaratory judgment and other

appropriate relief, brought pursuant to the Railway Labor Act, 45 U.S.C. § 151, et

seq. (hereinafter “RLA” or “the Act”), and the Declaratory Judgment Act, 28 U.S.C.

§§ 2201, 2202, against the defendant’s change of the status quo consisting of

contractual pilot rates of pay, rules, and working conditions, by its unilateral action

in placing employees from the separate craft or class of flight instructors onto the

Southwest Airlines pilot seniority list, while directing those employees to continue

performing the duties exclusively within the flight instructor craft or class.

Defendant has changed the status quo without complying either with the Section 6

procedures of the Railway Labor Act, 45 U.S.C. § 156, although the parties have
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exchanged notices pursuant to Section 6 for proposed changes to the current pilot

collective bargaining agreement, or with the parties’ contractual procedure for

implementation of a new classification in the Pilot craft or class. Defendant has taken

this unilateral action despite the efforts of plaintiff to resolve this dispute through

negotiation and invocation of the mediation services of the National Mediation Board

concerning this dispute. The parties’ negotiations reached impasse as a result of

defendant’s unilateral implementation of this change to the actual, objective working

conditions applicable to Southwest Pilots.

                         STATEMENT OF JURISDICTION

      2.     This action arises under the Railway Labor Act, 45 U.S.C. §§ 151, et seq.,

and the Court therefore has Federal Question jurisdiction pursuant to 28 U.S.C. §

1331, as well as jurisdiction under 28 U.S.C. § 1337, over this dispute concerning a

contract made under federal law affecting interstate commerce. This Court possesses

jurisdiction to enforce the parties’ obligations under the Railway Labor Act and to

issue an order compelling the defendants to bargain in good faith; to rescind their

unilateral changes to the “status quo,” which consists of existing contractual rates of

pay, rules, and working conditions covering their pilots; and to refrain from exercising

self-help prior to exhaustion of the “major dispute” mechanisms of the Railway Labor

Act for changing the status quo of pilot working conditions.

      3.     The Norris-LaGuardia Act, 29 U.S.C. § 101, et seq., does not deprive this

Court of jurisdiction over the Union’s claim for injunctive relief because this action is




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brought to enforce the mandatory procedures of the Railway Labor Act, 45 U.S.C. §

151, et seq.

                      VENUE AND PERSONAL JURISDICTION

      4.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(c),

and this Court possesses personal jurisdiction over the defendant, wherein the

defendant maintains its principal places of business, conducts scheduled flight

operations, conducts training for pilots, and maintains a crew base for pilots affected

by their unlawful actions which are the subjects of this complaint.

                                        PARTIES

      5.       The Southwest Airlines Pilots Association is an unincorporated labor

organization with its headquarters at 1450 Empire Central Dr., Suite 737, Dallas, TX

75247. SWAPA is the certified bargaining representative of the approximately 9,000

pilots employed by Defendant pursuant to certifications issued by the National

Mediation Board in Case No. R-7403 issued on September 30, 2014.

      6.       Defendant Southwest Airlines Co. is an “air carrier” subject to the

Federal Aviation Act of 1958, as amended, 49 U.S.C. §§ 40101 et seq. It is also a

“carrier” as that term is defined in Sections 201 and 202 of the RLA, 45 U.S.C. §§ 181,

182. Southwest maintains its principal place of business, conducts training of pilots,

and operates a pilot crew base in this judicial district.

                             FACTS AND BACKGROUND

      7.       Southwest Airlines employs approximately 9,000 Pilots in the Pilot craft

or class represented by SWAPA.




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      8.     Southwest employs approximately 90 employees in the separate craft or

class of Flight Instructor.     Southwest’s Flight Instructors are represented for

collective bargaining by the Transport Workers Union and its Local Union No. 557.

      9.     The Flight Instructor craft or class exclusively performs full-time

training instruction to Southwest Pilots.

      10.    Southwest Pilots do not perform full-time training instruction.

      11.    The Flight Instructor craft or class exclusively performs training

instruction of Pilots in flight simulators.

      12.    Pilots do not perform training instruction in Flight Simulators.

      13.    Southwest and SWAPA are parties to a collective bargaining agreement

with an effective duration of September 1, 2012 through August 31, 2020 (the "CBA”).

      14.    The parties’ agreement first became subject to change under the

Railway Labor Act on March 31, 2020.

      15.    On November 1, 2019, SWAPA served on Southwest a notice of early

reopener pursuant to Section 28 of CBA and Section 6 of the Railway Labor Act, 45

U.S.C. § 156 of intent to propose amendments to the parties’ collective bargaining

agreement.

      16.    Since January 9, 2020, Southwest and SWAPA have been engaged in

direct negotiations pursuant to Section 6 for amendments to the parties’ collective

bargaining agreement.

      17.    On approximately October 14, 2021, Southwest notified SWAPA that it

wished to now employ as pilots and place on the Pilot seniority list a number of




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Southwest Flight Instructors,1 while having those employees continue to exclusively

perform duties as Flight Instructors.

       18.    SWAPA notified Southwest that its proposed change would constitute

creation of a new classification in the Pilot craft or class since no Pilot has exclusively

performed duties as a Flight Instructor previously.

       19.    Southwest and SWAPA engaged in negotiations in an effort to reach

agreement on Southwest’s proposed change.

       20.    On approximately November 29, 2021, as Southwest and SWAPA were

engaged in ongoing negotiations concerning Southwest’s proposal to employ Flight

Instructors as Pilots while continuing to exclusively perform duties as Flight

Instructors, Southwest notified SWAPA that it had in fact implemented its proposal

and changed the employment status of thirteen Flight Instructors to instead be

identified as Pilots.

       21.    Thirteen employees were directed by Southwest on approximately

December 7, 2021 to attend the first day of Pilot ground school new hire

indoctrination training.    Prior to the first day of training, one of the fourteen

employees resigned from the Company.

       22.    Ground school indoctrination training is an approximately six-week

mandatory training course for new-hire Pilots under the Company’s training program

as approved by the Federal Aviation Administration.



1      The original list included fourteen Flight Instructors. Two have since separated
employment from Southwest. As of the filing of this Complaint, there are twelve Flight
Instructors remaining from the original fourteen.


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      23.    On information and belief, after the thirteen employees attended the

first of mandatory new-hire indoctrination training, the employees were directed by

Southwest to return to performing full-time duties as Flight Instructors in flight

simulator training of Pilots.

      24.    On information and belief, the thirteen employees have not attended

any further mandatory new-hire indoctrination training as Pilots. Then on or about

January 4, 2022, one of the thirteen resigned from the Company.

      25.    The currently remaining twelve employees are exclusively performing

full-time Flight Instructor duties for Southwest.

      26.    Southwest has placed these twelve employees on the Pilot seniority list

under the Southwest-SWAPA collective bargaining agreement.

      27.    On information and belief, Southwest has removed these twelve

employees from the Flight Instructor seniority list under the Flight Instructor

collective bargaining agreement.

      28.    The twelve employees are not qualified to perform any duties as

Southwest Pilots since they have not undergone mandatory new-hire training,

including completion of their initial operating experience training, and approval by a

Southwest check airman that the employees be released from training to perform

duties as Pilots.

      29.    The twelve employees are exclusively performing Flight Instructor

duties based on their qualifications as Flight Instructors.




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      30.    As a result of Southwest’s unilateral implementation of its proposed

change to place Flight Instructors in the Pilot craft or class to continue performing

duties as Flight Instructors, the parties’ negotiations over the issue reached impasse.

      31.    SWAPA sought the services of the National Mediation Board pursuant

to Section 5 of the Railway Labor Act in an effort to resolve the parties’ dispute over

Southwest’s proposed change and unilateral implementation of its proposed change

to place Flight Instructors in the Pilot craft or class to continue performing duties as

Flight Instructors.

      32.    SWAPA’s application remains pending before the National Mediation

Board.

      33.    The parties again met on December 21, 2021 concerning this dispute.

Southwest restated its intent to unilaterally implement its proposed change. The

parties therefore remain at impasse over the proposed change.

                                CLAIM FOR RELIEF

                                      COUNT I
            (Defendant’s Violation of RLA Section 2, First and Section 6)

      34.    The allegations of paragraphs 1 through 33 are incorporated by

reference pursuant to Fed. R. Civ. P. 10(c).

      35.    The parties are in a dispute subject to Section 6 of the Railway Labor

Act over changes to their collective bargaining agreement covering Southwest pilots,

which is a “major dispute” in RLA parlance.




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      36.    Section 2, First of the Railway Labor Act, 45 U.S.C. § 152, First, requires

that carriers, including their officers, employees, and agents, “exert every reasonable

effort to make and maintain agreements.” This obligation is the “heart” of the Act.

      37.    Section 6 of the RLA (45 U.S.C. § 156) provides:

             Carriers and representatives of the employees shall give at least thirty
             days’ written notice of an intended change in agreements affecting rates
             of pay, rules, or working conditions, and the time and place for the
             beginning of conference between the representatives of the parties
             interested in such intended changes shall be agreed upon within ten
             days after the receipt of said notice, and said time shall be within the
             thirty days provided in the notice. In every case where such notice of
             intended change has been given, or conferences are being held with
             reference thereto, or the services of the Mediation Board have been
             requested by either party, or said Board has proffered its services, rates
             of pay, rules, or working conditions shall not be altered by the carrier
             until the controversy has been finally acted upon, as required by section
             155 of this title, by the Mediation Board, unless a period of ten days has
             elapsed after termination of conferences without request for or proffer
             of the services of the Mediation Board.

      38.    Section 6 of the RLA requires air carriers which are parties to a major

dispute over changes in collective bargaining agreements to maintain the “status

quo,” consisting of the actual, objective working conditions under which their

employees perform services, at every stage of the major dispute process—from the

inception of the dispute until thirty days after the date on which the National

Mediation Board terminates its mediation services to the parties and “releases” the

parties from mediation.

      39.     The parties are in direct negotiations pursuant to Section 6 of the Act

over proposed changes to their collective bargaining agreement.




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      40.    The parties have not exhausted the mandatory procedures of Sections 5

and 6 of the RLA.

      41.    By unilaterally implementing its proposed change to the actual objective

working conditions covering Southwest Pilots in employing as Pilots and placing on

the Pilot seniority list under the SWAPA collective bargaining agreement thirteen

Flight Instructors who continue to exclusively perform duties as Flight Instructors,

the defendant violated its obligations under Section 2, First and Section 6 to maintain

the status quo during the RLA major dispute process until it has exhausted that

major dispute process.

      42.    The defendant’s actions are destructive of the collective bargaining

process under Section 6 of the Railway Labor Act, 45 U.S.C. § 156, such that they

violate the defendant’s Section 2, First duty to make every reasonable effort to make

and maintain agreements over rates of pay.

                                         COUNT II

(Defendant’s violation of RLA Section 2, Seventh by its unilateral implementation of
              changes to the parties’ collective bargaining agreement)

      43.    The allegations of paragraphs 1 through 42 are incorporated by

reference pursuant to Fed. R. Civ. P. 10(c).

      44.    Section 2, Seventh of the Railway Labor Act states, “No carrier, its

officers, or agents shall change the rates of pay, rules, or working conditions of its

employees, as a class, as embodied in agreements except in the manner prescribed in

such agreements or in section 156 of this title.” 45 U.S.C. § 152, Seventh.




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      45.   Southwest has not implemented the proposed change at issue here in

the manner prescribed by Section 6 of the RLA.

      46.   The parties’ collective bargaining agreement in Section 1.M provides:

            M. RE-OPENER

            In the event that the Company, during the duration of this Agreement,
            should:

            1. Acquire for its use any aircraft other than a 737 aircraft which can be
            flown under the same common 737 type rating; or

            2. Establish any new classification of employees employed within the
            bargaining unit and not in existence on the date of this Agreement; or

            3. Conduct flying limited to cargo only; or

            4. Begin flying international routes, other than Near International
            routes; or

            5. Create any subset of flying not specifically delineated in Section 5 of
            this Agreement; or

            6. Acquire or configure any aircraft with more than one hundred
            seventy-five (175) passenger seats will trigger a re-opener on rates of
            pay.

            This Agreement will be reopened for the sole purpose of negotiating
            wages, rates of pay, relocation expenses, bidding, and hours or
            conditions of employment particularly applicable to the specific
            situation. If the FAA, or the Company, or other competent authority
            restricts any flying beyond those aircraft listed above, this paragraph
            shall apply. If the reopener is triggered pursuant to paragraphs M.1
            through M.6, the Company shall not place such aircraft in revenue
            service, or implement as applicable until the above provisions are
            negotiated       and     agreed      to     by      the     Association.

      47.   Section 1.M.2 was adopted by the parties in their 2016 negotiations for

the current collective bargaining agreement to provide a mechanism for Southwest

during the term of the Agreement to establish a new classification of employees.



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      48.    Southwest’s action of employing as Pilots Flight Instructors who

continue to exclusively perform duties as Flight Instructors, constitutes a new

classification of employees.

      49.    Southwest has not attempted to comply with Section 1.M of the

Agreement to implement the proposed change at issue in this action.

      50.    Southwest’s action has occurred after the August 31, 2020 term of the

collective bargaining agreement stated in Section 28 of the CBA.

      51.    Even if Southwest invoked Section 1.M.2 of the Agreement, it is required

by the clear language of that provision to not implement its proposed action until the

terms covering the proposed change are negotiated and agreed to by SWAPA.

      52.    Southwest’s unilateral action without complying with the procedures of

Section 6 of the Act or a permitted process under the parties’ agreement violates

Section 2, Seventh of the RLA.

                               IRREPARABLE INJURY

      53.    The allegations of paragraphs 1 through 52 are incorporated by

reference pursuant to Fed. R. Civ. P. Rule 10(c).

      54.    The defendant’s violations of its obligations under Sections 2, First and

Seventh and Section 6 of the Railway Labor Act set forth in Counts I-II undermine

the Act’s statutory purpose to prevent disruptions to interstate commerce through

bargaining in conference between the carriers and their employees, and are therefore

contrary to the public interest.




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      55.    In addition to the irreparable injury to the statutory purposes and

machinery of the Act, the illegal and wrongful acts and conduct described under

Counts I-II are continuing, and, if not enjoined, the plaintiff and the Pilots it

represents will be injured in ways that cannot be measured accurately in terms of

money, either as to extent or amount. As a proximate result of the defendant’s

unlawful practices:

             a.       The bargaining process will be undermined and the parties

                      effectively prevented from reaching agreement;

             b.       The defendant’s conduct is contrary to the public interest in stable

                      labor relations and the maintenance of agreements, as well as

                      their orderly change through the Act’s procedures;

             c.       Pilots will be deprived of contractual rights that are associated

                      with the Company’s hiring of new hire Pilots.

      56.    The injury being suffered by the public, the plaintiff, and the Pilots it

represents is irreparable and continuing; it is such as cannot be recovered in an action

at law or in administrative or contractual proceedings.

      57.    For all the foregoing reasons, the plaintiff is without an adequate

remedy at law; plaintiff and the Pilots will suffer serious, substantial and irreparable

injury unless defendant’s unlawful conduct is enjoined. The public interest in the

Railway Labor Act requires that injunctive relief issue.

      58.    The defendant will not be injured by granting of injunctive relief

requiring them to comply with its duties under the RLA, since it can return the




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employees in question to the Flight Instructor craft or class in order to obtain their

services as Flight Instructors. Alternatively, the Company can stop directing the

employees in question to perform duties as Flight Instructors and instead place the

employees in new-hire Pilot training as with all other new-hire Pilots to then perform

duties as Pilots under the SWAPA agreement.

       59.   The defendant is required to address any operational or financial need

for changes to existing agreements only through bargaining under the Railway Labor

Act.

                                PRAYER FOR RELIEF

       WHEREFORE, the plaintiff requests the following relief:

             a.     Injunctive relief, preliminary and permanent, to enjoin and

restrain the defendant, its officers, representatives, agents, servants, employees,

attorneys, and all persons acting in concert or participation with them, to rescind its

unilateral change to the actual, objective working conditions governing Southwest

Pilots prior to exhausting the mandatory procedures of the Act by:

                    (1)    Removing the Flight Instructor employees at issue from

the Pilot craft or class and return the employees to the Flight Instructor craft or class

if it wishes to obtain their services as Flight Instructors; or, alternatively,

                    (2)    Cease directing the employees at issue to perform services

as Flight Instructors and instead place those employees in new-hire pilot training in

the same manner as all other new-hire Pilots and, upon those employees’ satisfactory

completion of new-hire training, place those employees into service as Pilots; and




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                    (3)   Engage in negotiations with its Pilots in conformity with

the carrier’s obligations under the RLA, including Sections 2, First, Seventh, and 6 of

the Act, to obtain changes to the actual, objective working conditions governing Pilots

that permit it to employ Flight Instructors as Pilots while having those employees

continue to perform duties as Flight Instructors.

                    (4)   Conspicuously post copies of the Court’s injunctive order at

each of the defendant’s facilities and locations in the United States, which are

regularly frequented by Pilots for a period of 90 days.

             b.     Issue declaratory relief that Southwest may not alter the status

quo of actual objective working conditions governing its Pilots to employ as Pilots

Flight Instructors who continue to perform duties as Flight Instructors absent

compliance with the requirements of Sections 2, First, Seventh and 6 of the Railway

Labor Act.

             c.     The plaintiff be awarded its costs.

             d.     That the Court grant the plaintiff such other and further relief as

may be equitable and just.




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Dated: January 7, 2022.     Respectfully submitted,

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